             Case 2:12-cr-00300-MCE Document 179 Filed 11/04/14 Page 1 of 2



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   United States of America
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 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           MISC. CASE NO.: 2:14-MC-0108-GEB-KJN
12                 Plaintiff,                            CRIMINAL CASE NO.: 2:12-CR-0300-MCE
13                         v.                            APPLICATION FOR AN ORDER
                                                         TERMINATING WRIT OF
14   RAJINDER KAUR DHILLON II,                           GARNISHMENT; AND ORDER
15                 Defendant and Judgment Debtor.
                                                         [NO HEARING REQUESTED]
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     BANK OF AMERICA, N.A.,
17
                   Garnishee.
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20          By this garnishment proceeding, the United States recovered the statutory assessment and
21 restitution imposed against defendant Rajinder Kaur Dhillon II in the criminal case referenced above.

22 Accordingly, the United States seeks an order terminating the writ of garnishment pursuant to 28 U.S.C.

23 § 3205(c)(10)(C) (satisfaction of the debt).

24                                                      Respectfully submitted,
25                                                      BENJAMIN B. WAGNER
                                                        United States Attorney
26
                                                        /s/ Kurt A. Didier______________
27 Dated: October 30, 2014                              KURT A. DIDIER
                                                        Assistant United States Attorney
28

     APPLICATION FOR ORDER TERMINATING GARNISHMENT
             Case 2:12-cr-00300-MCE Document 179 Filed 11/04/14 Page 2 of 2



 1                                               ORDER

 2         The Court, having reviewed the court files and the United States’ Application for an Order

 3 Terminating Writ of Garnishment (the “Application”) and finding good cause therefor, hereby

 4 GRANTS the Application. Accordingly, pursuant to 28 U.S.C. § 3205(c)(10)(C), the writ of

 5 garnishment previously issued on August 26, 2014 against defendant Rajinder Kaur Dhillon II is

 6 TERMINATED.

 7 IT IS SO ORDERED.

 8 Dated: November 4, 2014
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29 Order

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